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FILED

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 20I8FEB -6 PM &: 58

FORT MYERS DIVISION . —
CLERK.US DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

UNITED STATES OF AMERICA FORT MYERS FLORIDA

Vv.

JANE DOE CASE NO: 2:18-CR-19-FTM-38-CM

 

ORDER

The Government requests detention based upon the nature of the charge
against the defendant which carries the presumption that there is no condition or
combination of conditions that will reasonably assure the appearance of the
defendant as required or the safety of any person or the community. In accordance
with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing was offered and
the Defendant, through her counsel, voluntarily waived her right to a detention
hearing. The Defendant makes no application for release at this time.

Therefore it is

ORDERED — the Defendant is DETAINED without prejudice pending trial.
A motion for conditions of release and for a detention hearing may be filed at a later
date upon application to the Court.

The Defendant is committed to the custody of the Attorney General or her
designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal. The Defendant shall be afforded a reasonable opportunity

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for private consultation with defense counsel. On Order of a Court of the United
States or on request of an attorney for the Government, the person in charge of the
correctional facility shall deliver the Defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.

DONE AND ORDERED in Fort Myers, Florida this this 6th day of February,

2018.

 
  

  
   

HERI POLSTER CHAPPELL
UNITED STATES DISTRICT JUD

Copies furnished to:
Counsel of Record

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